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Video Footage Release


John Sullivan (Jayden X), hereby grants Rocky Mountain Public Media, LLC and Fast Forward Films, LLC
(The Producers) permission to use its original raw video footage from the siege of the US Capitol,
January 6, 2021, identified from the YouTube link: Shooting and Storming Of The US Capitol In
Washington DC (View Discretion Is Advised https://www.youtube.com/watch?v=PfiS8MsfSF4, for
limited use in the documentary film production, News Matters (Working Title), for all uses known and
unknown in perpetuity of the film. This license is non-exclusive.

The following clips have been selected form the raw footage published on the public YouTube link:

00-1:00 - Initial rush to storm the Capitol
1:28-2:00 - Kicking over fencing/barricade - “I can’t believe this is reality.”
2:06-2:17 -“We are all part of history.”
2:42-3:45 - Looking over balcony/Wide shot/Man climbs up the wall and yells
5:24-5:35- Walking up to US Capitol window/crowd
6:15-6:28 - Entering US Capitol
9:30-9:36 - Man in orange hat fighting with police
12:38-13:07 - Walking down hallway/“USA, USA”
13:35-13:40 “Holy shit, what reality is this?”
15:35-15:42 “This is 2021 y’all. This is insanity. holy shit”
18:35-19:05 “USA, USA, USA!”
20:33-20:38 “We want Trump… “
24:08-24:18 - high shot of crowd holed up
26:16-26:30 - crowd breaks through
26:46-26:56 “Stop the steal…”
29:21-29:28 “Stop the steal…”
32:45-33:10 Man kicking door in - “Open the door!”
33:35-33:51 - Crowd at door
34:37-36:00 - Crowd breaking door down/shot fired/woman killed/lying on ground


John Sullivan understands it will be compensated $1,000.00 USD for the use of the footage and given an
on-screen credit: John Sullivan (Jayden X).

John Sullivan warrants that he is the sole owner of all original raw video footage under this agreement
and has full rights and authority to grant permission to Fast Forward Films for its use.



Signed:




John Sullivan/Jayden X                   Date




Brian Malone, Fast Forward Films                                 Date
                                                                          January 11, 2021
